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EXHIBIT KK
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BY ANDREA MURBOCK, DEPUTY

Attorneys for Temporary Conservator
of the Person and Temporary Co-Conservator
of the Estate James P. Spears

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Temporary Conservatorship of the CASE NO. BP 108870
Person and the Estate of:
NOTICE OF PARTIAL WITHDRAWAL

BRITNEY JEAN SPEARS, OF APPLICATIONS TO SEAL RECORDS
Temporary Conservatee. Date: February 4, 2008
Time: 1:30 p.m

Department: 9

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PARTIAL WITHDRAWAL OF APPLICATION TO SEAL RECORD RE CONSERVATORSHIP OF PERSON

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Temporary Conservator of the Person and Temporary Co-Conservator of the Estate
James P. Spears (““Mr. Spears’) hereby partially withdraws his applications to seal the record of
proceedings concerning: (1) his petition for conservatorship of the person insofar as that
application seeks to seal the record of proceedings in its entirety; and (2) his application to seal
the record of proceedings concerning his petition for conservatorship of the estate insofar as that
application seeks to seal the record of proceedings in its entirety pending further Order of the
Court. Events have rendered those applications moot to the extent that they sought to seal the
record of proceedings in its entirety.

By partially withdrawing his applications, Mr. Spears does not waive his right to claim
confidentiality as to those records that are required to be kept confidential by law. Mr. Spears
reserves the right to apply to the Court to seal Court records that are not required to be kept
confidential by law, as authorized by Cal. R. Court 2.550 and 2.551. Mr. Spears also reserves
the right to ask the Court that the proceedings be closed as appropriate to protect confidential
information.

Based upon the law and facts set forth in his applications, Mr. Spears respectfully asks
the Court to find, pursuant to the factors set forth in Rule 2.550(d), that to the extent that the
Legislature has provided that certain information related to the conservatorship shall be deemed
confidential (e.g., the information set forth in the supplemental information form (including the
declarations of capacity, which may be attached to the supplemental information form), see Cal.
Prob. Code § 1821(a), and the Court investigator’s report, see Cal. Prob. Code § 1826(n)), the
Court proceedings will be sealed to the extent that there is any substantive discussion concerning
such information. Mr. Spears does not, however, ask the Court to seal the proceedings as to any
ultimate factual findings that it may make based upon the information designated as confidential
by the Legislature.

With regard to the factors set forth in Rule 2.550(d): (1) the Legislature has already
determined that there is an overriding interest in privacy that overcomes the right of public

access to information that is to be deemed confidential as a matter of law, see Cal. R. Court

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PARTIAL WITHDRAWAL OF APPLICATION TO SEAL RECORD RE CONSERVATORSHIP OF PERSON

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1 2.550(d)(1); (2) the Legislature has already determined that this overriding interest in privacy
2 supports sealing the record with regard to such information, see Cal. R. Court 2.550(d)(2);

3 (3) there is a substantial likelihood that this overriding interest in privacy will be prejudiced if
4 the information deemed to be confidential by the Legislature is discussed in open proceedings,

5 see Cal. R. Court 2.550(d)(3); (4) the proposed sealing is narrowly tailored to address only

6 information that the Legislature has determined to be entitled to confidentiality, see Cal. R. Court

7 2.550(d)(4); and (5) no less restrictive means exist to achieve the overriding interest, see Cal. R.
8 Court 2.550(d)(5).
9 For purposes of the hearing on F ebruary 4, 2008, Mr. Spears asks the Court: (1) to seal

10 the capacity declarations; and (2) to seal the proceedings with regard to any substantive

11 discussion concerning the capacity declarations or the supplemental information form to be
12 presented to the Court in connection with that hearing. Mr. Spears does not, however, ask the
13 Court to seal the proceedings as to any ultimate factual findings that it may make based upon the

14 capacity declarations.

15 Sealing the capacity declarations is necessary in order to protect the therapeutic
16 relationships between Britney and the medical and mental health professionals who are treating
17 her.
18 DATED: February 4, 2008 Respectfully submitted,
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LUCE, FORWARD, HAMILTON & SCRIPPS Lip
20
21 ee
39 -JeryltS-Cohen
Attomeys for Temporary Conservator
3 of the Person and Temporary Co-Conservator
of the Estate James P. Spears
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PARTIAL WITHDRAWAL OF APPLICATION TO SEAL RECORD RE CONSERVATORSHIP OF PERSON

